

People v Johnson (2021 NY Slip Op 07089)





People v Johnson


2021 NY Slip Op 07089


Decided on December 21, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 21, 2021

Before: Renwick, J.P., Oing, Singh, Scarpulla, Pitt, JJ. 


Ind. No. 1421/16 Appeal No. 14897 Case No. 2019-917 

[*1]The People of the State of New York, Respondent,
vIsaiah Johnson, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Ronald Zapata of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Ronald A. Zweibel, J. at first plea; Mark Dwyer, J. at second plea and sentencing), rendered October 5, 2018, convicting defendant of petit larceny, and sentencing him to time served, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fees imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 21, 2021








